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8                      United States District Court
9                      Central District of California
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11   NATIONAL PUBLIC RADIO, INC., et          Case № 2:20-cv-08307-ODW (JCx)
12   al.,

13
                      Plaintiffs,             JUDGMENT
14
           v.

15
     U.S. INTERNATIONAL
16   DEVELOPMENT FINANCE
17   CORPORATION,
18                    Defendant.
19         Pursuant to the Court’s Order Granting in Part and Denying in Part Cross-
20   Motions for Summary Judgment, (ECF No. 33), it is hereby ORDERED,
21   ADJUDGED, and DECREED as follows:
22   ///
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     //

27   ///
28   ///
Case 2:20-cv-08307-ODW-JC Document 34 Filed 11/24/21 Page 2 of 2 Page ID #:390
